   EXHIBIT A
State Court Record
4/14/25, 2:15 PM                                               Nineteenth Circuit Court District-Docket Report



                                     Mississippi Electronic Courts
                       Nineteenth Circuit Court District (Jackson County Court)
                       CIVIL DOCKET FOR CASE #: 30CO1:25-cv-20391-MW


  JOHNSON v. CITY OF MOSS POINT, JACKSON                                                 Date Filed: 03/11/2025
  COUNTY MS                                                                              Current Days Pending: 34
  Assigned to: Mark Watts                                                                Total Case Age: 34
                                                                                         Jury Demand: None
  Upcoming Settings:                                                                     Nature of Suit: Other Torts (175)

  None Found


  Plaintiff
  TONI NETTLES JOHNSON                                             represented by W Harvey Barton, II
  503 26TH ST                                                                     Barton Law Firm PLLC
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                                                                                  ATTORNEY TO BE NOTICED


  V.
  Defendant
  CITY OF MOSS POINT, JACKSON
  COUNTY MS
  603 WATTS AVE
  PASCAGOULA, MS


   Date Filed             #     Docket Text
   03/11/2025            1      Civil Cover Sheet. (ORyan, Dana) (Entered: 03/12/2025)
                                COMPLAINT against CITY OF MOSS POINT, JACKSON COUNTY MS, filed
   03/11/2025            2
                                by TONI NETTLES JOHNSON. (ORyan, Dana) (Entered: 03/12/2025)
                                SUMMONS Issued to CITY OF MOSS POINT, JACKSON COUNTY MS.
   03/14/2025            3
                                (ORyan, Dana) (Entered: 03/14/2025)
                                SUMMONS Returned Executed by TONI NETTLES JOHNSON. CITY OF
   03/19/2025            4      MOSS POINT, JACKSON COUNTY MS served on 3/17/2025, answer due
                                4/16/2025. Service type: Personal (Barton, W Harvey) (Entered: 03/19/2025)


https://nineteenth.circuit.mec.ms.gov/cgi-bin/DktRpt.pl?125856021089897-L_933_5-1,10357307869276-L_333_0-1                   1/2
4/14/25, 2:15 PM                                               Nineteenth Circuit Court District-Docket Report

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                                                  Docket            Search               30CO1:25-cv-20391-
                               Description:
                                                  Report            Criteria:            MW
                               Billable Pages: 1                    Cost:                0.20




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